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                                                       APPENDIX A

Exhibit
                               Description                                              Basis for Sealing
 No.
                                                                  Google has filed Exhibit 127 under seal pursuant to Plaintiffs’
                                                                  designation as highly confidential.
          Excerpts from the Expert Report of Robin S. Lee on Google does not take a position on whether all of Exhibit 127
 127      behalf of Plaintiffs in this case, dated December 22, should remain under seal. However, Google requests, as
          2023.                                                 denoted by the blue highlighting, limited redactions of a chart
                                                                and percentage based on Google’s non-public proprietary data.
                                                                Google’s proposed redactions are narrowly targeted and would
                                                                still allow the public to understand Exhibit 127’s meaning.

                                                                 Google has filed Exhibit 131 partially under seal for two
                                                                 reasons. First, as denoted in yellow highlighting, Exhibit 131
                                                                 contains material designated highly confidential by Plaintiffs.
          Excerpts from the Expert Report of Mark A. Israel on Second, as denoted by blue highlighting, Google requests
 131
          behalf of Google in this case, dated January 23, 2024. limited redactions pertaining to analyses and discussion of
                                                                 Google’s non-public proprietary customer data. Google’s
                                                                 proposed redactions are narrowly targeted and would still
                                                                 allow the public to understand Exhibit 131’s meaning.

                                                              Google has filed Exhibit 132 partially under seal for two
                                                              reasons. First, as denoted in yellow highlighting, Exhibit 132
          Excerpts from the Expert Report of Paul R. Milgrom contains material designated highly confidential by Plaintiffs.
 132      on behalf of Google in this case, dated January 23, Second, as denoted by blue highlighting, Google requests
          2024.                                               limited redactions regarding pricing. Google’s proposed
                                                              redactions are narrowly targeted and would still allow the
                                                              public to understand Exhibit 132’s meaning.

          Excerpts from the transcript of the deposition of Eric Google has filed Exhibit 135 partially under seal as it contains
 135      Hochberger, cofounder and CEO of Mediavine, taken material designated highly confidential by third-party
          on September 22, 2023.                                 Mediavine.



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Exhibit
                               Description                                               Basis for Sealing
 No.
          Excerpts from the Expert Rebuttal Report of Robin S. Google has filed Exhibit 137 under seal pursuant to Plaintiffs’
 137      Lee on behalf of Plaintiffs in this case, dated February designation as highly confidential.
          13, 2024.

          Excerpts from the transcript of the deposition of Luke
          Lambert in his capacity as a corporate representative of Google has filed Exhibit 138 under seal pursuant to third party
 138
          Omnicom pursuant to Federal Rule of Civil Procedure Omnicom’s designation as highly confidential.
          30(b)(6), taken on August 29, 2023.

          Excerpts from an invoice from GSD&M, dated
          December 19, 2019, produced by the Department of
                                                                  Google has filed Exhibit 139 under seal pursuant to Plaintiffs’
 139      Justice (“DOJ”) on behalf of the U.S. Air Force in this
                                                                  designation as highly confidential.
          matter, and bearing Bates Nos. USAF-ADS-
          0000506005 to USAF-ADS-0000506063.

          A document titled Public Voucher for Purchases and
          Services Other Than Personal, dated April 28, 2022,
                                                              Google has filed Exhibit 140 under seal pursuant to Plaintiffs’
 140      produced by the DOJ on behalf of the U.S. Army in
                                                              designation as highly confidential.
          this matter, and bearing Bates Nos. ARMY-ADS-
          0000504378 to ARMY-ADS-0000504386.

          A document titled Production Bill, dated March 4,
          2020, produced by the DOJ on behalf of the U.S.
                                                               Google has filed Exhibit 141 under seal pursuant to Plaintiffs’
 141      Census Bureau in this matter, and bearing Bates Nos.
                                                               designation as highly confidential.
          CENSUS-ADS-0000762511 to CENSUS-ADS-
          0000762525.




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Exhibit
                               Description                                              Basis for Sealing
 No.
          An invoice from Universal McCann Worldwide, Inc.,
          dated February 17, 2022, produced by the DOJ on
                                                                 Google has filed Exhibit 142 under seal pursuant to Plaintiffs’
 142      behalf of the United States Postal Service (“USPS”) in
                                                                 designation as highly confidential.
          this matter, and bearing Bates Nos. USPS-ADS-
          0000669681 to USPS-ADS-0000669714.

          An invoice from The District Communications Group,
          dated July 31, 2020, produced by the DOJ on behalf of
                                                                Google has filed Exhibit 143 under seal pursuant to Plaintiffs’
 143      the Department of Veterans Affairs (“VA”) in this
                                                                designation as highly confidential.
          matter, and bearing Bates Nos. VET-AF-ADS-
          0000376131 to VET-AF-ADS-0000376155.

          A document titled Digital Media Bill, dated June 20,
          2022, produced by the DOJ on behalf of the U.S. Navy Google has filed Exhibit 144 under seal pursuant to Plaintiffs’
 144
          in this matter, and bearing Bates Nos. NAVY-ADS- designation as highly confidential.
          0000250171 to NAVY-ADS-0000250227.

          Excerpts from the report of Rosa M. Abrantes-Metz on
                                                                Google has filed Exhibit 145 under seal pursuant to Plaintiffs’
 145      behalf of Plaintiffs in this case, dated December 22,
                                                                designation as highly confidential.
          2023.

          Excerpts from the transcript of the deposition of Tim
          Craycroft, Google’s Vice President and General Google has filed Exhibit 146 under seal pursuant to third party
 146
          Manager for YouTube ads, display ads, app ads, and Amazon’s designation as highly confidential.
          publisher products, taken on August 15, 2023.

          Excerpts from the transcript of the deposition of Simon
          Whitcombe in his capacity as a corporate
                                                                  Google has filed Exhibit 150 under seal pursuant to third party
 150      representative of Meta pursuant to Federal Rule of
                                                                  Meta’s designation as confidential.
          Civil Procedure 30(b)(6), taken on September 28,
          2023.



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Exhibit
                              Description                                               Basis for Sealing
 No.
          Excerpts from an eMarketer spreadsheet, produced by
                                                              Google has filed Exhibit 151 under seal pursuant to contractual
 151      Google in this matter, and bearing Bates No. GOOG-
                                                              obligations to maintain the confidentiality of the material.
          AT-DOJ-DATA-000066787.

          Excerpts from the transcript of the deposition of
          Jeremy Helfand in his capacity as a corporate
                                                               Google has filed Exhibit 152 under seal pursuant to third party
 152      representative of Disney pursuant to Federal Rule of
                                                               Disney’s designation as confidential.
          Civil Procedure 30(b)(6), taken on September 29,
          2023.

          Excerpts from a presentation titled “Appendix,” dated
                                                                Google has filed Exhibit 153 under seal pursuant to third party
 153      March 2020, produced by Disney in this matter, and
                                                                Disney’s designation as confidential.
          bearing Bates Nos. HULU-008733 to HULU-008762.

          Excerpts from a presentation titled “The U.S. Army:
          FY21 Q4 Marketing Mix Modeling National Paid
          Media Utilization Assessments,” dated December 10, Google has filed Exhibit 154 under seal pursuant to Plaintiffs’
 154
          2021, produced by the DOJ on behalf of the U.S. Army designation as highly confidential.
          in this matter, and bearing Bates Nos. ARMY-ADS-
          0000187048 to ARMY-ADS-0000187065.

          Excerpts from email correspondence from P.
          Garlinghouse to A. Owens, et al., with subject line
          “June/July Media Plan Recommendation,” with
                                                                 Google has filed Exhibit 155 under seal pursuant to Plaintiffs’
 155      attachment, dated May 21, 2021, produced by the DOJ
                                                                 designation as highly confidential.
          on behalf of the U.S. Navy in this matter, and bearing
          Bates Nos. NAVY-ADS-0000019114 to NAVY-
          ADS-0000019182.




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Exhibit
                               Description                                               Basis for Sealing
 No.
          A document titled “Canada Executive Briefing: 2021
                                                                   Google has filed Exhibit 157 partially under seal because
          Programmatic Business Risk Analysis,” dated
                                                                   Google requests limited redactions pertaining to discussion of
 157      December 11, 2020, produced by Google in this
                                                                   non-public revenue, customer, and business strategies
          matter, and bearing Bates Nos. GOOG-AT-MDL-
                                                                   pertaining to its DV360 business.
          006037366 to GOOG-AT-MDL-00637373.

          Excerpts from a spreadsheet titled “CMS AA DAO
          Transactions Report,” dated May 17, 2023, produced
                                                                Google has filed Exhibit 158 under seal pursuant to Plaintiffs’
 158      by the DOJ on behalf of the Centers for Medicare and
                                                                designation as highly confidential.
          Medicaid Services (“CMS”) in this matter, and bearing
          Bates No. CMS-ADS-0001096610.

          Excerpts from the Expert Report of Timothy Simcoe
                                                                   Google has filed Exhibit 159 under seal pursuant to Plaintiffs’
 159      on behalf of Plaintiffs in this case, dated December 22,
                                                                   designation as highly confidential.
          2023.

                                                                 Google has filed Exhibit 161 partially under seal for two
                                                                 reasons. First, as denoted in yellow highlighting, Exhibit 161
                                                                 contains material designated highly confidential by Plaintiffs.
          Excerpts from the Expert Report of Judith A. Chevalier
                                                                 Second, as denoted by blue highlighting, Google requests
 161      on behalf of Google in this case, dated January 23,
                                                                 limited redactions pertaining to discussion of certain non-
          2024.
                                                                 public proprietary data. Google’s proposed redactions are
                                                                 narrowly targeted and would still allow the public to
                                                                 understand Exhibit 161’s meaning.




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